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AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

UNITED STATES DISTRICT COURT

for the
Eastern District of North Carolina sO F] LED
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, : RE, JR.,
; . ) Civil Action No. 5 pg bSoisr ores URT GLERK
, E ) . / DEP CLK
Defendant/Responde ae )

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

I am a plaintiff or petitioner in this case and declare that Iam unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

In support of this application, I answer the following questions under penalty of perjury:

1. Jf incarcerated. 1 am being held at: A jbERMARIE CoRR. Insttorho NSi‘“

If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I] was
incarcerated during the last six months.

2. Ifnot incarcerated. \f1 am employed, my employer’s name and address are: N | A

My gross.pay or wages are: $ a , and my take-home pay or wages are: $ LY per
(specify pay period) N [A . . ,
3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):
‘ . f
(a) Business, profession, or other self-employment O Yes No
(b) Rent payments, interest, or dividends - OYes No ©
(c) Pension, annuity, or life insurance payments O Yes ZNo
(d) Disability, or worker’s compensation payments O Yes 41 No
(e) Gifts, or inheritances -O Yes Xe
(f) Any other sources gYes ° No

Ifyou answered “Yes” to any question above, describe below or on separate pages each source of money and
" state the amount that you received and what you expect to receive in the future. N

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4, Amount of money. that I have in cash or in a checking or, savings account: $ LB N { A

5. Any automobile, real estate, stock, bond, security, trust, , jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate

value): . Nn lA.

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6. Any housing, transportation, utilities, or Joan payments, or other regular monthly expenses (describe and provide

the amount of the monthly expense): N

7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:

NAL

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8. Any debts or financial obligations (describe the amounts owed and to whom they are payable).~ a _— N | A .

Declaration: 1 declare under penalty of perjury that the above information is true and understand that a false
’ statement may result in a dismissal of my claims.

Date: O2-25-28 . / Jian KE Lhe

Applicant's signature

Navh., Se db le.

Printed name

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